Case 3:18-cv-02935-X-BH Document 60 Filed 05/08/20                   Page 1 of 18 PageID 512



                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

VALERIE JACKSON                                    §
                                                   §
       Plaintiff,                                  §
                                                   §
v.                                                 §   CIVIL ACTION NO. 3:18-cv-2935
                                                   §
LUPE VALDEZ, MARIAN BROWN,                         §
SAMUEL JOSEPH, LIZYAMMA                            §
SAMUEL, UNKNOWN DALLAS                             §
COUNTY EMPLOYEE III, and                           §
DALLAS COUNTY, TEXAS,                              §
                                                   §
       Defendants.                                 §

     MOTION FOR LEAVE TO CONDUCT LIMITED DISCOVERY REGARDING
                        QUALIFIED IMMUNITY

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       COMES NOW Plaintiff Valerie Jackson and files this Motion for Leave to Conduct

Limited Discovery. In support thereof, Plaintiff respectfully shows the Court as follows:

                           INTRODUCTION AND BACKGROUND

       On or about November 4, 2016, Relator Valerie Jackson was a pre-trial detainee at the

Dallas County jail. She was booked for Possession of a Weapon in a Prohibited Place – essentially,

she forgot to remove her firearm from her bag before going to the airport.

       Valerie Jackson was assigned the sex of male at birth. Ms. Jackson is a transgender woman,

and lives as a woman. Ms. Jackson had her gender legally changed to female prior to the events

giving rise to her causes of action in this case

       During the intake process at the jail, although the jail staff verified Ms. Jackson’s name

and gender on her driver’s license, she was compelled to expose her genitalia to jail staff in order

to confirm her gender.
____________________________________________________________
PLAINTIFF’S MOTION FOR LEAVE TO CONDUCT LIMITED DISCOVERY                             Page |1
Case 3:18-cv-02935-X-BH Document 60 Filed 05/08/20                     Page 2 of 18 PageID 513



       Lupe Valdez, Marian Brown, Samuel Joseph, Lizyamma Samuel, and Unknown Dallas County

Employee III (the “Individual Defendants”) have been sued under 42 U.S.C. § 1983 for violations of

the Fourth and Fourteenth Amendments, in particular, the unreasonable strip search of Valerie Jackson

for the sole purpose of determining the inmate’s genital status, as well as the failure to train and

supervise by Sheriff Lupe Valdez and Sheriff Marian Brown that resulted in the illegal strip search and

her improper placement with the male detainee population. ECF #46, p. 4.

                              ARGUMENTS AND AUTHORITIES

I.     Court’s Order

       This Court ordered that Plaintiff may file a motion for leave to conduct limited discovery

in order to respond to the qualified immunity issues raised in the summary judgment motion by

May 8, 2020. ECF #51.

       This Court ordered that any motion for leave must include: (1) the specific interrogatories

plaintiff wants to send to Defendants in their individual capacities; (2) a list of the specific

documents or categories of documents plaintiff wants to obtain from Defendants in their individual

capacities; and (3) an explanation of why this discovery is necessary to enable the plaintiff to

respond to the specific qualified immunity issues raised in the motion for summary judgment. Id.

II.    Issues for which Plaintiff needs to obtain evidence.

       Defendants have moved for summary judgment claiming they are entitled to qualified

immunity. Defendants argue that they are entitled to qualified immunity unless Plaintiff can raise

an issue of material fact as to the Defendants violating a statutory or constitutional right, and 2)

that the right was clearly established at the time of the challenged conduct. ECF #58 at pp.3-4

(citing Cass v. City of Abilene, 814 F.3d 721, 728 (5th Cir. 2016)). Defendants have argued that

the Court must determine whether the individual defendants violated Plaintiff’s constitutional

rights, and whether Defendants’ actions were objectively unreasonable in light of clearly
____________________________________________________________
PLAINTIFF’S MOTION FOR LEAVE TO CONDUCT LIMITED DISCOVERY                                Page |2
Case 3:18-cv-02935-X-BH Document 60 Filed 05/08/20                     Page 3 of 18 PageID 514



established law at the time of the conduct in question. Defendants deny that any constitutional

violation occurred or that any right was violated.

       Thus, Plaintiff needs to conduct discovery in order to demonstrate material questions of

fact as to Defendants’ violation of her constitutional rights and that Defendants’ actions were

objectively unreasonable.

III.   Plaintiff requests limited discovery to respond to the qualified immunity issue raised
       in Defendants’ Summary Judgment Motion.

       Plaintiff respectfully requests this Court permit her to serve Defendants with the following

discovery requests:

       DEPOSITION OF CAPTAIN SHELLEY KNIGHT: This deposition will be narrowly

tailored and needed to evidence any training or discipline Defendants received or provided in

relation to the treatment or mistreatment of transgender individuals at the Dallas County jail from

January 1, 2010 until December 31, 2018. Dallas County Sheriff’s Department Captain Shelley

Knight has publicly stated that Dallas County policies were not followed or misconstrued in

relation to the mistreatment of Plaintiff. Should the Court deny Plaintiff’s request for a deposition

of Captain Knight, Plaintiff requests that these questions be made as interrogatories.

       Specifically, Plaintiff needs to inquire as to the following:

               1. Policies Captain Knight referenced which were not followed or misconstrued;

               2. Any training provided on such policies;

               3. Any supervision provided in relation to such policies; and

               4. Whether the training and supervision, or lack thereof, was with deliberate

                   indifference to the rights of transgender jail detainees in the Dallas County jail.

               5. Have previous complaints been filed in relation to searches performed on

                   transgender individuals;
____________________________________________________________
PLAINTIFF’S MOTION FOR LEAVE TO CONDUCT LIMITED DISCOVERY                                Page |3
Case 3:18-cv-02935-X-BH Document 60 Filed 05/08/20                   Page 4 of 18 PageID 515



                6. Any training Captain Knight has been provided regarding the treatment of

                    transgender individuals;

                7. Who provides training and supervision for the implementation of policies

                    regarding the treatment of transgender individuals;

                8. Whether Captain Knight is aware of any other times when written policies

                    regarding the treatment of transgender individuals have not been followed or

                    have been “misconstrued”;

                9. Whether medical personnel working in the jail performing searches are acting

                    under the direction and/or control of Dallas County.

        This information will also demonstrate whether Defendants were supervised during their

interactions with Plaintiff. This information will also identify the individuals with whom Plaintiff

interacted while detained at the Dallas County jail and identify those involved in her mistreatment.

        The information obtained from Captain Knight’s deposition and/or interrogatories will

support Plaintiff’s claim that Defendants violated her constitutional rights and that such was

unreasonable in view of clearly established law at the time of the violation.

        INTERROGATORY NO. 1: At whose direction was the search of Plaintiff’s genitalia

performed?

        This interrogatory is narrowly tailored to the factual issue of whether the search was

performed by Dallas County employees or those acting at the direction, under the control, and on

behalf of Dallas County. The information will support Plaintiff’s claim that Defendants violated

her constitutional rights.

        INTERROGATORY NO. 2: What training had the person who directed the search of

Plaintiff’s genitalia received regarding searches of transgender inmates, including their genitalia,


____________________________________________________________
PLAINTIFF’S MOTION FOR LEAVE TO CONDUCT LIMITED DISCOVERY                             Page |4
Case 3:18-cv-02935-X-BH Document 60 Filed 05/08/20                   Page 5 of 18 PageID 516



and placement of transgender inmates, when was that training conducted, and who provided that

training?

        This interrogatory is narrowly tailored and needed to evidence any training or discipline

Defendants received or provided in relation to conduct at the Dallas County jail in relation to

searches conducted at the Dallas County jail to determine biological sex/gender or placement of

individuals based on biological or legal sex/gender. This information will also demonstrate the

level of supervision provided, if any, in relation to searches conducted at the Dallas County jail to

determine biological sex/gender or placement of individuals based on biological or legal

sex/gender. This information will also identify the individuals responsible for training and

supervision at the Dallas County jail, and any training or supervision provided, or the lack thereof.

This information will also demonstrate whether the training and supervision provided to Dallas

County employees was done with deliberate indifference to the rights of transgender individuals.

        The information will support Plaintiff’s claim that Defendants’ conduct was unreasonable

in view of clearly established law at the time of the violation.

        INTERROGATORY NO. 3: Who was present during the search of Plaintiff’s genitalia?

        This interrogatory is narrowly tailored to the factual issue of whether the search was

performed by Dallas County employees or those acting at the direction, under the control, and on

behalf of Dallas County. The information will support Plaintiff’s claim that Defendants violated

her constitutional rights.

        INTERROGATORY NO. 4: What training had the Dallas County employees who were

present during the search of Plaintiff’s genitalia received regarding searches of transgender

inmates, including their genitalia, and placement of transgender inmates, when was that training

conducted, and who provided that training?


____________________________________________________________
PLAINTIFF’S MOTION FOR LEAVE TO CONDUCT LIMITED DISCOVERY                              Page |5
Case 3:18-cv-02935-X-BH Document 60 Filed 05/08/20                     Page 6 of 18 PageID 517



       This interrogatory is narrowly tailored and needed to evidence any training or discipline

Defendants received or provided in relation to conduct at the Dallas County jail in relation to

searches conducted at the Dallas County jail to determine biological sex/gender or placement of

individuals based on biological or legal sex/gender. This information will also demonstrate the

level of supervision provided, if any, in relation to searches conducted at the Dallas County jail to

determine biological sex/gender or placement of individuals based on biological or legal

sex/gender. This information will also identify the individuals responsible for training and

supervision at the Dallas County jail, and any training or supervision provided, or the lack thereof.

This information will also demonstrate whether the training and supervision provided to Dallas

County employees was done with deliberate indifference to the rights of transgender individuals.

       The information will support Plaintiff’s claim that Defendants’ conduct was unreasonable

in view of clearly established law at the time of the violation.

       INTERROGATORY NO. 5: Describe any investigation, including results of such

investigation and the identity of individuals, departments, or divisions involved, in relation to the

search performed on Plaintiff to determine her biological sex/gender, her placement based on

biological vs. legal sex/gender, or the events forming the basis of the complaints in this case.

       This interrogatory is narrowly tailored and needed to evidence any training or discipline

Defendants received or provided. These materials will also demonstrate whether Defendants were

supervised during their interactions with Plaintiff. These materials will also identify the individuals

with whom Plaintiff interacted while detained at the Dallas County jail and identify those involved

in her mistreatment. This information will also demonstrate whether the training and supervision

provided to Dallas County employees was done with deliberate indifference to the rights of

transgender individuals. The information will support Plaintiff’s claim that Defendants violated


____________________________________________________________
PLAINTIFF’S MOTION FOR LEAVE TO CONDUCT LIMITED DISCOVERY                                Page |6
Case 3:18-cv-02935-X-BH Document 60 Filed 05/08/20                    Page 7 of 18 PageID 518



her constitutional rights and that such was unreasonable in view of clearly established law at the

time of the violation.

       INTERROGATORY NO. 6: Describe any investigation, including results of such

investigation and the identity of individuals, departments, or divisions involved, in relation to

searches conducted at the Dallas County jail to determine biological sex/gender or placement of

individuals based on biological or legal sex/gender from January 1, 2010 until December 31, 2018.

       This interrogatory is narrowly tailored and needed to evidence any training or discipline

Defendants received or provided in relation to conduct at the Dallas County jail in relation to

searches conducted at the Dallas County jail to determine biological sex/gender or placement of

individuals based on biological or legal sex/gender. This information will also demonstrate the

level of supervision provided, if any, in relation to searches conducted at the Dallas County jail to

determine biological sex/gender or placement of individuals based on biological or legal

sex/gender. This information will also identify the individuals responsible for training and

supervision at the Dallas County jail, and any training or supervision provided, or the lack thereof.

This information will also demonstrate whether the training and supervision provided to Dallas

County employees was done with deliberate indifference to the rights of transgender individuals.

       The information will support Plaintiff’s claim that Defendants violated her constitutional

rights and that such was unreasonable in view of clearly established law at the time of the violation.

       INTERROGATORY NO. 7: Identify and describe any and all training provided by or to

Defendants in relation to the treatment of transgender detainees at the Dallas County jail from

January 1, 2010 until December 31, 2018.

       This interrogatory is narrowly tailored and needed to evidence any training or discipline

Defendants received or provided in relation to conduct at the Dallas County jail in relation to


____________________________________________________________
PLAINTIFF’S MOTION FOR LEAVE TO CONDUCT LIMITED DISCOVERY                               Page |7
Case 3:18-cv-02935-X-BH Document 60 Filed 05/08/20                   Page 8 of 18 PageID 519



searches conducted at the Dallas County jail to determine biological sex/gender or placement of

individuals based on biological or legal sex/gender. This information will also demonstrate the

level of supervision provided, if any, in relation to searches conducted at the Dallas County jail to

determine biological sex/gender or placement of individuals based on biological or legal

sex/gender. This information will also identify the individuals responsible for training and

supervision at the Dallas County jail, and any training or supervision provided, or the lack thereof.

This information will also demonstrate whether the training and supervision provided to Dallas

County employees was done with deliberate indifference to the rights of transgender individuals.

       The information will support Plaintiff’s claim that Defendants’ conduct was unreasonable

in view of clearly established law at the time of the violation.

       INTERROGATORY NO. 8: Identify and describe any and all policies Captain Knight

has referenced which were not followed or were misconstrued.

       This interrogatory is narrowly tailored and needed to evidence any failures in training or

supervision in relation searches conducted at the Dallas County jail to determine biological

sex/gender or placement of individuals based on biological or legal sex/gender. This information

will also demonstrate whether the training and supervision provided to Dallas County employees

was done with deliberate indifference to the rights of transgender individuals.

       The information will support Plaintiff’s claim that Defendants’ conduct was unreasonable

in view of clearly established law at the time of the violation.

       INTERROGATORY NO. 9: Identify and describe any training provided on policies

Captain Knight has referenced which were not followed or were misconstrued.

       This interrogatory is narrowly tailored and needed to evidence any failures in training or

supervision in relation searches conducted at the Dallas County jail to determine biological


____________________________________________________________
PLAINTIFF’S MOTION FOR LEAVE TO CONDUCT LIMITED DISCOVERY                              Page |8
Case 3:18-cv-02935-X-BH Document 60 Filed 05/08/20                  Page 9 of 18 PageID 520



sex/gender or placement of individuals based on biological or legal sex/gender. This information

will also demonstrate whether the training and supervision provided to Dallas County employees

was done with deliberate indifference to the rights of transgender individuals.

       The information will support Plaintiff’s claim that Defendants’ conduct was unreasonable

in view of clearly established law at the time of the violation.

       INTERROGATORY NO. 10: Describe any supervision provided in relation to policies

Captain Knight has referenced which were not followed or were misconstrued.

       This interrogatory is narrowly tailored and needed to evidence any failures in training or

supervision in relation searches conducted at the Dallas County jail to determine biological

sex/gender or placement of individuals based on biological or legal sex/gender. This information

will also demonstrate whether the training and supervision provided to Dallas County employees

was done with deliberate indifference to the rights of transgender individuals.

       The information will support Plaintiff’s claim that Defendants’ conduct was unreasonable

in view of clearly established law at the time of the violation.

       INTERROGATORY NO. 11: Describe whether the training and supervision, or lack

thereof, in relation to policies Captain Knight has referenced which were not followed or were

misconstrued, was with deliberate indifference to the rights of transgender jail detainees in the

Dallas County jail.

       This interrogatory is narrowly tailored and needed to evidence any failures in training or

supervision in relation searches conducted at the Dallas County jail to determine biological

sex/gender or placement of individuals based on biological or legal sex/gender. This information

will also demonstrate whether the training and supervision provided to Dallas County employees

was done with deliberate indifference to the rights of transgender individuals.


____________________________________________________________
PLAINTIFF’S MOTION FOR LEAVE TO CONDUCT LIMITED DISCOVERY                           Page |9
Case 3:18-cv-02935-X-BH Document 60 Filed 05/08/20                   Page 10 of 18 PageID 521



       The information will support Plaintiff’s claim that Defendants’ conduct was unreasonable

in view of clearly established law at the time of the violation.

       INTERROGATORY NO. 12: Describe any training Captain Knight has received in

relation to the treatment of transgender jail detainees in the Dallas County jail.

       This interrogatory is narrowly tailored and needed to evidence any failures in training or

supervision in relation searches conducted at the Dallas County jail to determine biological

sex/gender or placement of individuals based on biological or legal sex/gender. This information

will also demonstrate whether the training and supervision provided to Dallas County employees

was done with deliberate indifference to the rights of transgender individuals.

       The information will support Plaintiff’s claim that Defendants’ conduct was unreasonable

in view of clearly established law at the time of the violation.

       INTERROGATORY NO. 13: Identify the specific individuals providing training and

supervision in relation to the treatment of transgender jail detainees in the Dallas County jail.

       This interrogatory is narrowly tailored and needed to evidence any failures in training or

supervision in relation searches conducted at the Dallas County jail to determine biological

sex/gender or placement of individuals based on biological or legal sex/gender. This information

will also demonstrate whether the training and supervision provided to Dallas County employees

was done with deliberate indifference to the rights of transgender individuals.

       The information will support Plaintiff’s claim that Defendants’ conduct was unreasonable

in view of clearly established law at the time of the violation.

       INTERROGATORY NO. 14: Identify and describe any other times when written

policies in relation to the treatment of transgender jail detainees in the Dallas County jail have not

been followed or have been “misconstrued”.


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PLAINTIFF’S MOTION FOR LEAVE TO CONDUCT LIMITED DISCOVERY                               P a g e | 10
Case 3:18-cv-02935-X-BH Document 60 Filed 05/08/20                  Page 11 of 18 PageID 522



       This interrogatory is narrowly tailored and needed to evidence any failures in training or

supervision in relation searches conducted at the Dallas County jail to determine biological

sex/gender or placement of individuals based on biological or legal sex/gender. This information

will also demonstrate whether the training and supervision provided to Dallas County employees

was done with deliberate indifference to the rights of transgender individuals.

       The information will support Plaintiff’s claim that Defendants’ conduct was unreasonable

in view of clearly established law at the time of the violation.

       INTERROGATORY NO. 15: Explain whether medical personnel working in the jail

performing searches are acting under the direction and/or control of Dallas County.

       This interrogatory is narrowly tailored and needed to evidence those responsible for the

mistreatment of Plaintiff and any failures in supervision in relation searches conducted at the

Dallas County jail to determine biological sex/gender or placement of individuals based on

biological or legal sex/gender. This information will also demonstrate whether the supervision

provided to Dallas County employees was done with deliberate indifference to the rights of

transgender individuals.

       The information will support Plaintiff’s claim that Defendants’ conduct was unreasonable

in view of clearly established law at the time of the violation.

       INTERROGATORY NO. 16: Identify and describe any and all previous complaints that

have been filed in relation to searches performed on transgender individuals.

       This interrogatory is narrowly tailored and needed to evidence any failures in training or

supervision in relation searches conducted at the Dallas County jail to determine biological

sex/gender or placement of individuals based on biological or legal sex/gender. This information




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PLAINTIFF’S MOTION FOR LEAVE TO CONDUCT LIMITED DISCOVERY                             P a g e | 11
Case 3:18-cv-02935-X-BH Document 60 Filed 05/08/20                   Page 12 of 18 PageID 523



will also demonstrate whether the training and supervision provided to Dallas County employees

was done with deliberate indifference to the rights of transgender individuals.

          The information will support Plaintiff’s claim that Defendants’ conduct was unreasonable

in view of clearly established law at the time of the violation.

          REQUEST FOR PRODUCTION NO. 1: All audio/video recordings of any interaction

between any Dallas County employee and Plaintiff that makes the basis of this lawsuit.

          This request for production is narrowly tailored and needed to evidence the circumstances

under which the treatment of Plaintiff occurred. These materials will assist in demonstrating the

conduct of Defendants and whether the treatment Plaintiff was forced to endure was unreasonable

or out of line with actions that would be taken by reasonable detention personnel. These materials

will also demonstrate whether Defendants were supervised during their interactions with Plaintiff.

          These materials will support Plaintiff’s claim that Defendants violated her constitutional

rights.

          REQUEST FOR PRODUCTION NO. 2: For the dates November 4, 2016, April 19,

2017, and June 15, 2018, produce any videos and/or audio recordings of the Dallas County Jail for

the following locations:

          o Areas where searches are performed.
          o Areas of detainee confinement.
          o Areas where Plaintiff would have interacted with any Dallas County employee or jail
            detainees.

          This request for production is narrowly tailored and needed to evidence the circumstances

under which the treatment of Plaintiff occurred. These materials will assist in demonstrating the

conduct of Defendants and whether the treatment Plaintiff was forced to endure was unreasonable

or out of line with actions that would be taken by reasonable detention personnel. These materials

will also demonstrate whether Defendants were supervised during their interactions with Plaintiff.
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PLAINTIFF’S MOTION FOR LEAVE TO CONDUCT LIMITED DISCOVERY                             P a g e | 12
Case 3:18-cv-02935-X-BH Document 60 Filed 05/08/20                   Page 13 of 18 PageID 524



          These materials will support Plaintiff’s claim that Defendants violated her constitutional

rights.

          REQUEST FOR PRODUCTION NO. 3: Complete and unredacted personnel records

for any detention personnel having contact with Plaintiff on the following dates: November 4,

2016, April 19, 2017, and June 15, 2018.

          This request for production is narrowly tailored and needed to evidence any training or

discipline Defendants received or provided. These materials will also demonstrate whether

Defendants were supervised during their interactions with Plaintiff. These materials will also

identify the individuals with whom Plaintiff interacted while detained at the Dallas County jail and

identify those involved in her mistreatment.

          These materials will support Plaintiff’s claim that Defendants violated her constitutional

rights.

          REQUEST FOR PRODUCTION NO. 4:                    Complete and unredacted records or

documentation of any sort in relation to Plaintiff.

          This request for production is narrowly tailored and needed to evidence the circumstances

under which the treatment of Plaintiff occurred. These materials will assist in demonstrating the

conduct of Defendants and whether the treatment Plaintiff was forced to endure was unreasonable

or out of line with actions that would be taken by reasonable detention personnel. These materials

will also demonstrate whether Defendants were supervised during their interactions with Plaintiff.

These materials will also identify the individuals with whom Plaintiff interacted while detained at

the Dallas County jail and identify those involved in her mistreatment.

          These materials will support Plaintiff’s claim that Defendants violated her constitutional

rights.


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PLAINTIFF’S MOTION FOR LEAVE TO CONDUCT LIMITED DISCOVERY                             P a g e | 13
Case 3:18-cv-02935-X-BH Document 60 Filed 05/08/20                   Page 14 of 18 PageID 525



       REQUEST FOR PRODUCTION NO. 5:                        Complete and unredacted records or

documentation of any sort in relation to any investigation conducted by any Dallas County entity

regarding Plaintiff or the events forming the basis of the complaints in this case, specifically, but

not limited to, the search of Plaintiff to determine her biological sex/gender and her placement

with the male detainee population.

       This request for production is narrowly tailored and needed to evidence the circumstances

under which the treatment of Plaintiff occurred. These materials will assist in demonstrating

whether the treatment Plaintiff was forced to endure was unreasonable or out of line with actions

that would be taken by reasonable detention personnel. These materials will also identify the

individuals with whom Plaintiff interacted while detained at the Dallas County jail and identify

those involved in her mistreatment. These materials will also demonstrate any training or discipline

Defendants received or provided. These materials will also demonstrate whether Defendants were

supervised during their interactions with Plaintiff.

       These materials will support Plaintiff’s claim that Defendants violated her constitutional

rights and that such was unreasonable in view of clearly established law at the time of the violation.

       REQUEST FOR PRODUCTION NO. 6: Any documents of any kind, including but not

limited to memoranda, correspondence, notice, announcement, email, or text messages, that in any

way mentions or addresses Plaintiff or the events forming the basis of the complaints in this case,

specifically, but not limited to, the search of Plaintiff to determine her biological sex/gender and

her placement with the male detainee population.

       This request for production is narrowly tailored and needed to evidence the circumstances

under which the treatment of Plaintiff occurred. These materials will assist in demonstrating

whether the treatment Plaintiff was forced to endure was unreasonable or out of line with actions


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PLAINTIFF’S MOTION FOR LEAVE TO CONDUCT LIMITED DISCOVERY                               P a g e | 14
Case 3:18-cv-02935-X-BH Document 60 Filed 05/08/20                   Page 15 of 18 PageID 526



that would be taken by reasonable detention personnel. These materials will demonstrate

subsequent training provided, if any, and whether any supervision provided by or in relation to

Defendants.

          These materials will support Plaintiff’s claim that Defendants violated her constitutional

rights.

          REQUEST FOR PRODUCTION NO. 7: Copies of any complaints filed in relation to

searches performed on transgender individuals.

          This request for production is narrowly tailored and these materials will assist in

demonstrating whether the treatment Plaintiff was forced to endure was unreasonable or out of line

with actions that would be taken by reasonable detention personnel. These materials will also

demonstrate the training provided to Dallas County employees regarding transgender detainees by

Defendants and any supervision of Dallas County employees regarding transgender detainees.

These materials will also demonstrate any deliberate indifference to the treatment of transgender

detainees in general.

          These materials will support Plaintiff’s claim that Defendants’ conduct was unreasonable

in view of clearly established law at the time of the violation.

          REQUEST FOR PRODUCTION NO. 8: Copies of any records or documentation

reflecting searches performed on transgender individuals.

          This request for production is narrowly tailored and these materials will assist in

demonstrating whether the treatment Plaintiff was forced to endure was unreasonable or out of line

with actions that would be taken by reasonable detention personnel. These materials will also

demonstrate the training provided to Dallas County employees regarding transgender detainees by

Defendants and any supervision of Dallas County employees regarding transgender detainees.


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PLAINTIFF’S MOTION FOR LEAVE TO CONDUCT LIMITED DISCOVERY                             P a g e | 15
Case 3:18-cv-02935-X-BH Document 60 Filed 05/08/20                   Page 16 of 18 PageID 527



These materials will also demonstrate any deliberate indifference to the treatment of transgender

detainees in general.

       These materials will support Plaintiff’s claim that Defendants violated her constitutional

rights and that such was unreasonable in view of clearly established law at the time of the violation.

       REQUEST FOR PRODUCTION NO. 9:                         Copies of any materials regarding

investigations or disciplinary actions taken in relation to searches performed on transgender

individuals from January 1, 2016 to December 31, 2018.

       This request for production is narrowly tailored and these materials will assist in

demonstrating whether the treatment Plaintiff was forced to endure was unreasonable or out of line

with actions that would be taken by reasonable detention personnel. These materials will also

demonstrate the training provided to Dallas County employees regarding transgender detainees by

Defendants and any supervision of Dallas County employees regarding transgender detainees.

These materials will also demonstrate any deliberate indifference to the treatment of transgender

detainees in general.

       These materials will support Plaintiff’s claim that Defendants violated her constitutional

rights and that such was unreasonable in view of clearly established law at the time of the violation.

       REQUEST FOR PRODUCTION NO. 10: Copies of any duty roster, schedule, calendar,

or other document reflecting personnel on duty for the following dates: November 4, 2016, April

19, 2017, and June 15, 2018.

       This request for production is narrowly tailored and needed to identify Dallas County

employees with whom Plaintiff would have interacted and whom may have been involved in her

mistreatment. These materials will assist in demonstrating any supervision provided over Dallas

County employees.


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PLAINTIFF’S MOTION FOR LEAVE TO CONDUCT LIMITED DISCOVERY                               P a g e | 16
Case 3:18-cv-02935-X-BH Document 60 Filed 05/08/20                       Page 17 of 18 PageID 528



          These materials will support Plaintiff’s claim that Defendants violated her constitutional

rights.

                                            CONCLUSION

          Plaintiff respectfully requests that this Court grant leave for Plaintiff to conduct the limited

discovery requested herein so that Plaintiff can adequately respond to Defendants’ Motion for

Summary Judgment. Plaintiff further prays for all other relief, both legal and equitable, to which

she may show himself justly entitled.

                                                 Respectfully submitted,

                                                 /s/ Scott H. Palmer
                                                 SCOTT H. PALMER
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                                                 JAMES P. ROBERTS
                                                 Texas Bar No. 24105721
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PLAINTIFF’S MOTION FOR LEAVE TO CONDUCT LIMITED DISCOVERY                                   P a g e | 17
Case 3:18-cv-02935-X-BH Document 60 Filed 05/08/20               Page 18 of 18 PageID 529



                               CERTIFICATE OF SERVICE

        I certify that on May 8, 2020, this document was filed and served through the ECF system
on all counsel of record.

                                            /s/Scott H. Palmer
                                            Scott H. Palmer




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PLAINTIFF’S MOTION FOR LEAVE TO CONDUCT LIMITED DISCOVERY                          P a g e | 18
